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                  IN THE CIRCUIT COURT OF THE FOURTEENTH JUDICIAL CIRCUIT
                             IN AND FOR JACKSON COUNTY, FLORIDA

        THE BAPTIST COLLEGE OF FLORIDA, INC.,

        Plaintiff,

        V.                                                           CASE NO.:

        CHURCH MUTUAL INSURANCE COMPANY,
        S.I.,

        Defendant.

        - - - - - - - - - - - - - - - - - -I
                         COMPLAINT FOR BREACH OF CONTRACT, BAD FAITH,
                         TO CONFIRM APPRAISAL AWARD, ENTER JUDGMENT,
                                  AND AWARD ATTORNEY FEES

                  Plaintiff, The Baptist College of Florida, Inc. ("Baptist College"), sues Defendant,

        Church Mutual Insurance Company, S.I. ("Church Mutual") and alleges:

                                         JURISDICTION AND VENUE

                  1.     This is an action for breach of contract, pursuant to an insurance policy, with

        damages exceeding thirty thousand dollars ($30,000.00), exclusive of interest, costs, and

        attorneys' fees. This Court has jurisdiction pursuant to section 26.012, Florida Statutes (2018).

                  2.     This is an action for bad faith, pursuant to section 624.155, Florida Statutes

        (2018), with damages exceeding thirty thousand dollars ($30,000.00), exclusive of interest, costs,

        and attorneys' fees.    This Court has jurisdiction pursuant to section 26.012, Florida Statutes

        (2018).

                  3.     Venue is proper in Jackson County, Florida because Baptist College is located in

        Graceville, Florida and the property at the heart of this dispute is located in Graceville and

        Marianna, Florida.
                                  PROPERTY AND PARTIES

       4.       Baptist College is a Florida not for profit corporation. The principal address for

Baptist College is 5400 College Drive, Graceville, Florida 32440. The property at the heart of

the underlying breach of contract is in Graceville and Marianna, Florida.

       5.       Church Mutual is a foreign for-profit insurance company, whose principal address

is 3000 Schuster Lane, Merrill, Wisconsin 54452-3172.

                                  FACTUAL ALLEGATIONS

       6.       Church Mutual issued Insurance Policy No. 0075558-02-040182 to Baptist

College for the Policy Period October 15, 2017, through October 15, 2018. Exhibit A.

       7.       Policy No. 0075558-02-040182 was in effect at all times relevant to this lawsuit.

       8.       Hurricane Michael substantially damaged ninety-plus buildings on Baptist

College's Graceville and Marianna campuses on or about October 10, 2018.

       9.       Baptist College immediately reported the damage to Church Mutual.

          10.   Baptist College timely provided all proofs of loss as requested by Church Mutual.

          11.   Baptist College timely provided all documentation as requested by Church

Mutual.

          12.   Baptist College allowed all inspections requested by Church Mutual.

          13.   Church Mutual sent adjusters over a period of more than two years who provided

varying significantly low estimates:

                               Graceville              Marianna

                1/8/2019       $ 788,033.54          $1,061,970.21

                7/11/2019                            $1,142,177.16

                10/24/2019     $1,687,065.45



                                                 2
              3/31/2021                              $1,182,126.23

               5/5/2021       $1,870,040.60.

       14.    During a March 19, 2021, meeting with Church Mutual's adjuster he informed

Baptist College that Church Mutual would not increase the scope of damage; but he did increase

the pricing for the Graceville damage to $1,972,131.33.

       15.    Because Church Mutual would not appropriately increase its scope of damage, on

March 29, 2021, Baptist College filed and served a Civil Remedy Notice of Insurer Violation

("CRN"). Exhibit B.

       16.    Rather than file its response with the Florida Department of Financial Services, as

it is obligated to do, on May 27, 2021, Church Mutual filed a note that said, "Church Mutual

Insurance Company has responded to this Civil Remedy Notice in a May 27, 2021 letter sent

directly to Attorney Didier." Exhibit C.

       17.    The improper letter response made false accusations and refused to acknowledge

the extent of damage.

       18.    Church Mutual did not corrected the bad faith as more specifically alleged in the

CRN, which included violations of sections:

              624.155(l)(b)(l) when it inspected the property on at least three occasions over a

       period of more than two years and had sufficient information to admit a proper scope of

       work and could have settled the claim for $9,923,124.38, plus costs of $63,452.10, if it

       had acted fairly and honestly toward Baptist College and with due regard for its interests.

              626.954l(l)(i)(3)(c) when it failed to produce after repeated requests an

       explanation as to how the depreciation was calculated.




                                                3
               626.954l(l)(i)(3)(d) when it refused to conduct reasonable investigations to

       understand the extent of the loss and ignored Baptist College's contractor's and the

       contractor's engineer's explanation of the damages and instead provided substantially

       low estimates.

               626.954l(l)(i)(3)(f) when it failed to provide a reasonable explanation in writing

       for such low adjustment offers.

               626.954l(l)(i)(3)(g) when it failed to notify Baptist College of additional

       information Church Mutual required to evaluate the Proof of Loss provided by Baptist

       College.

       19.     When Church Mutual failed to correct its bad faith by paymg the amount

demanded in the CRN-$7,496,231.72 for the Graceville Campus and the $2,426,892.66 for the

Marianna campus, less the depreciation, deductible and amount already paid-Baptist College

was forced to hire an appraiser.

       20.     The last Proofs of Loss signed by Baptist College on November 30, 2020, before

demanding appraisal sought Actual Cash Value damages of $8,139,511.72 for the Graceville

Campus and $2,619,332.66 for the Marianna Campus (both amounts prior to deductibles and

prior payments).

       21.     On June 1, 2021, Baptist College demanded an appraisal and named its appraiser.

       22.     On June 20, 2021, Church Mutual named its appraiser.

       23.     On April 15, 2022, the Umpire and one Appraiser found the Hurricane Michael

damages to be as follows (Exhibit D):

                                     Graceville            Marianna

               RCV                   $14,019,291.63        $3,691,608.29



                                                  4
               ACV                     $13,342,621.28          $3,167,978.54

               Ordinance               $    541,521.22         $ 244,125.20
               &Law.

        24.    On May 5, 2022, Church Mutual served a Motion to Modify and Correct

Appraisal Award (the "Motion").

        25.    The Motion alleged that the umpire utilized an incorrect Xactimate price list for

March 2022, instead of the price list in effect on the date of loss.

        26.    The Motion also made improper allegations relating to the scope and amount of

damage.

        27.    On May 11, 2022, Baptist College responded to Church Mutual's Motion

acknowledging that an incorrect price list was used; and it explained why Church Mutual has no

right to dispute the scope and amount of damage found in the appraisal award.

        28.    On May 24, 2022, an amended appraisal award using the correct Xactimate price

list was issued finding the following damages (Exhibit E):

                                       Graceville              Marianna

               RCV                     $10,992,039.42          $2,959,456.06

               ACV                     $10,414,630.84          $2,531,276.77

               Ordinance               $    337,221.18         $ 197,545.51
               &Law.

        29.    All conditions precedent to bringing this action have been satisfied.

                                        COUNTI
                                   BREACH OF CONTRACT

        30.    Baptist Collegerealleges paragraphs 1-29.

        31.    The Church Mutual policy provides in part:

               C. LOSS CONDITIONS


                                                    5
                     2. Appraisal.
                        If we and your disagree on the value of the property or the
                        amount of loss, either may make written demand for an
                        appraisal of the loss. In this event, each party will select a
                        competent and impartial appraiser. The two appraisers will
                        select an umpire. *** The appraisers will state separately
                        the value of the property and amount of loss. If they fail to
                        agree, they will submit their differences to the umpire. A
                        decision agreed to by any two will be binding.

                     4. Loss Payment.
                        g. We will pay for covered loss or damage within 30 days
                           after we receive the sworn proof of loss, if you have
                           complied with all of the terms of this Coverage Part;
                           and:
                           (2) An appraisal award has been made.

       32.    Proofs of Loss were provided prior to appraisal.

       33.    An appraisal award was entered on May 24, 2022, in the ACV amount of

$10,414,630.84 for the Graceville Campus and $2,531,276.77 for the Marianna Campus, a total

of $12,945,907.61.

       34.    Prior to the appraisal process, Church Mutual paid $1,954,196.03 in damages,

       35.    After the initial appraisal award, Church Mutual paid an additional $1,133,020.11

in damages, a combined total payment of $3,087,216.14, which is more than $9,000,000.00 less

than the amount due based on the May 24, 2022, ACV appraisal award.

       36.    Church Mutual has not paid any amount after the appraisal award entered on

May 24, 2022, which payment was due no later than June 23, 2022.

       37.    Baptist College has suffered damages in the amount of the appraisal award, less

deductibles and prior payments.

       38.    As a result of Church Mutual's breach of contract, Baptist College has been

forced to hire counsel to secure benefits due under its policy with Church Mutual.       Baptist




                                                  6
College is entitled to attorneys' fees pursuant to section 627.428 or section 626.9373, Florida

Statutes (2018).

       WHEREFORE, Baptist College seeks a judgment in its favor and against Church Mutual

for breach of contract and confirmation of the May 24, 2022, appraisal award, as well as

attorneys' fees, costs, and interest, and such other relief as this Court deems just.

                                             COUNT II
                                            BAD FAITH

        1.     Baptist College realleges paragraphs 1-28.

       2.      An appraisal award is tantamount to a favorable resolution, which is necessary to

proceed with a bad faith action.

       3.      Church Mutual has no defense which would defeat coverage.

       4.      The safe harbor period for the Civil Remedy Notice filed on March 29, 2021,

expired on May 28, 2021.

        5.     Church Mutual has not corrected its bad faith.

       6.      After Church Mutual failed to pay pursuant to the May 24, 2022, appraisal award,

on July 7, 2022, Baptist College filed a second Civil Remedy Notice based on Church Mutual's

failure to comply with the appraisal award.

       7.      The safe harbor period for the second Civil Remedy Notice will expire on

September 5, 2022.

        8.     Baptist College has suffered damages flowing directly from Church Mutual's bad

faith as alleged in the Civil Remedy Notices including, but not limited to, interest on the unpaid

damage payments and significant increases in construction costs due to Church Mutual's failure

to provide sufficient funding to make repairs (as evidenced by the Price List increase between

the 4/15/2022 appraisal award and the 5/24/2022 appraisal award). Baptist College has also


                                                  7
incurred damages as a result of the costs incurred in the appraisal process, including the retention

of an appraiser and the associated expense of that appraiser and the umpire.

          9.    Baptist College was forced by Church Mutual's delay and bad-faith handling of

the claim to retain an attorney to bring this action and Baptist College is therefore entitled to

attorneys' fees to be paid by Church Mutual pursuant to section 624.155(4), Florida Statutes

(2018).

          WHEREEFORE, Baptist College seeks a judgment in its favor awarding it bad faith

damages against Church Mutual, as well as attorneys' fees, costs, and interest, and such other

relief as this Court deems just.

          PLAINTIFFS DEMAND A TRIAL BY JURY OF ALL ISSUES SO TRIABLE.

DATED: July 14, 2022.



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                                              Florida Bar No.: 0989975
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                                              P.O. Box 12950
                                              Pensacola, FL 32591-2950
                                              Telephone: (850) 432-2451
                                              Facsimile: (850) 469-3331
                                              Attorneys for Plaintiffs




                                                 8
           POLICY NUMBER: 0075558-02-040182                                                       EFFECTIVE: 10/15/17




           BAPTIST COLLEGE OF FLORIDA (THE)
           5400 COLLEGE DR
           GRACEVILLE FL 32440-1831




           07-102
           YOUR REPRESENTATIVE:
           TERRITORY07-102
           3000 SCHUSTER LANE
           MERRILL WI 54452
           (800) 554-2642




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-- -Offfer Named lnsurecl's Signature:                                                                                 Date:

    Other Named lnsured's Sianature:                                                                                   Date:




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     POLICY NUMBER: 0075558-02-040182                                  EFFECTIVE: 10/15/17




                           Church Mutual Insurance Company
                               Privacy Practices Disclosure Notice

                                           Our Company Policy

We do not disclose any nonpubfic personal information about our indi'vidual policyholders or claimants to
any affiliate or any nonaffiliated third party other than those permitted by law and only for the purpose of
transacting the business of your insurance coverage or your claim We do not sell any customer or
policyholder information to mailing list companies or mass marketing companies. We treat our
policyholder information as confidential.

Some states have enacted legislation that regulates the use of nonpubHc information maintained by
financial service institutions and insurance carriers on their customers who are insured with them In the
interest of pro'viding you with an affirmation of our commitment to maintailing the privacy of customer and
claimant information, we have prepared the following Privacy Practices Disclosure Notice. Please take
time to re-view the information, as it is relevant to our business partnership With you.

This Privacy Practices Disclosure Notice outlines the privacy practices of Church Mutual Insurance
Company listed below:

This Privacy Practices Disclosure Notice will notify you of:

1. The categories of nonpublic, personal, identifiable information (not corporate information) that
   Church Mutual collects from you or from a third party about you or about participants, beneficiaries
   or claimants under your insurance coverage;

2. How Church Mutual uses the information;

3. The categories of affiliates and nonaffiliate third parties with whom Church Mutual shares the
   information, as permitted by law; and

4. The kind of security policies and procedures that are in place to protect the confidentiality and
   security of nonpublic personal information provided to Church Mutual.

If you have questions or concerns regarding this Privacy Practices Disclosure Notice, you should contact
Church Mutual by sending an email to swoller@churchmutual.com or by writing to us at:

Sandra M. Woller
Assistant Vice President- Chief Compliance Officer
Church Mutual Insurance Company
3000 Schuster Lane
P.O. Box357
Merrill, WI 54452-0357

1.   PERSONALLY IDENTIFIABLE INFORMATION COLLECTED

Church Mutual wants you to conduct business with us knowing that we protect personal information
Church Mutual collects personally identifiable information from you or from third parties about you or
about participants, beneficiaries or claimants under your insurance coverage as a part of the insurance
appHcation, underwriting, claims, administration and servicing process.

We collect nonpublc personal information from the following sources:

•    Information we receive on applications or other forms and which may include policyhok:ter, participant,
     beneficiary or claimant name, address, telephone number, social security number, household
     information, vehicle and driver information, date of birth, medical information related to underwriting
     and claims and insurance coverage information;

                                                  Page 1 of 3
FM: GR01 (5-2017)
•    Information about transactions with us, our affiliates or others, including information about pre'IAous
     claims or accidents, medical information related to claims, information about the circumstances of
     your accident or injury (if applicable) and the names of witnesses and other contact information; and

•    Information we receive from consumer reporting agencies, state motor vehicle departments and
     inspection services.

2.   HOW THE INFORMATION IS USED

The information Church Mutual collects is used to pro'IAde policy and prerrium quotes, process
underwriting appltations, administer claims and answer questions or concerns about our insurance
products and services. We also use the information for account administration; reporting, imestigatirg, or
preventing fraud or material misrepresentation; processing premium billing payments; processing and
defending insurance claims; administering insurance benefits Oncluding utilzation re'IAew actiwies); and
as otherwise required or permitted by federal or state law.

Church Mutual maintains paper copies or electronic archives of the information provided by you or by a
third party for policy quoting for processing and administering your application or claims made under your
policy and for improving our products and services. This information is kept internal to Church Mutua~
except when needed to verify the information provided, to service your policy or claim as required or
permitted by law. The information is not available to the general pubic. Church Mutual retains the
information collected when a claim is filed under your policy for as long as required by law or regulation or
as long as the claim is open and thereafter for a period set by the appropriate underwriting or claims
records retention policies of Church Mutual

3. SHARING INFORMATION GATHERED

We do not disclose nonpublb personal information about you or about participant;, beneficiaries or
claimants under your insurance policy to anyone, except as permitted by law. We may share information
about you or about participanl5, beneficiaries or claimants under your policy in the normal business of
conducting insurance operations, such as providing you with an insurance quote or processing, servicing
and administering your insurance policy and your claims.

Even without your authorizaion, once you become a Church Mutual customer or claimant, we are
permitted by law to share information about you to entities, such as:

•    A third party if it is reasonably necessary to enable the party to perform services for us, such as
     claims investigations, appraisals or the detection of fraud or material misrepresentations;

•    Any of our affiliated companies who provide services to you;

•    Insurance regulatory authorities, reporting agencies or, if applicable, imoluntary market
     administrators;

•    State motor vehicle department to obtain a report of any accidents or convictions;

•    Law enforcement agencies or other governmental authorities to protect our interest or to report illegal
     acti'IAties;

•    Persons or organizations conductirg insurance actuarial or research studies, subjectto appropriate
     confidentially agreements; and

•    As otherwise permitted or required by law.




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     POLICY NUMBER: 0075558-02-040182                                    EFFECTIVE: 10/15/17




We also are permitted by law to disclose the following information to companies that perform marketing
services on our behalf or with whom we haw joint marketing agreements, including:

•    Information we receiw on applications or other forms, such as policyholder or claimant name,
     address, social security number, insurance coverages, vehicle and driver information and certain
     claims information;

•    Information about transactions with us, our affiliates or others, such as insurance coverages, whicle
     and driver information and claims information; and

•    Information we receiw from third parties, such as a consumer reporting agency, state motor vehicle
     records or claims history.

We do not sell any customer or policyholder information to mailing list companies or mass marketing
companies. We treat our policyholder information as confidential.

4.   SECURITY POLICIES AND PROCEDURES

We restrict access to nonpublic personal information about you or about parlicipanl5, beneficiaries and
claimants under your insurance policy to those employees who need to know that information to prmnde
products or services to you. We maintain physical, electronic and procedural safeguards that comply with
state and federal regulations to guard your nonpublic personal information.

Church Mutual also uses a wide variety of data protection procedures and computer hardware and
software tools to guard system and data privacy and integrity. Church Mutual's computer systems also
are protected by additional measures, such as encrypted data transmissions, network routers and
firewalls intended to prewnt unauthorized access.

5. ACCESS AND CORRECT YOUR PERSONAL INFORMATION

You may request access to certain information about you that we have in our records. To request
access, please send us a written request. Be sure to reasonably describe the information you want. If
you believe that your information is incomplete or inaccurate, you may request that we make changes.
Please send any of the requests fisted above in writing to:

Chief Compliance Officer
Church Mutual Insurance Company
3000 Schuster Lane
P.O. Box357
Merrill, WI 54452-0357

If you request corrections, additions or deletions, we wil either make the changes that you request or
notify you why we will not do so. If we decline your request, in some states you may have the right to file
a concise statement with us about the dispute.

The rights in this section do not apply in certain cases, such as information related to litigation.

6.   MODIFICATIONS TO OUR PRIVACY POLICY

We reserve the right to change our privacy practices in the future, which may include sharing nonpublic
personal information about you with nonaffiliated third parties. Before we do that, we will provide you with
a revised Privacy Practices Disclosure Notice and giw you the opportunity to opt out of that type of
information sharing.




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POLICY NUMBER: 0075558-02-040182                                                EFFECTIVE: 10/15/17


                           FLORIDA-SINKHOLE LOSS EXCLUSION
                           ADVISORY NOTICE TO POLICYHOLDERS


    No coverage is provided by this notice nor can it be construed to replace any
    provision of your policy.



     YOU SHOULD READ YOUR POLICY AND REVIEW YOUR DECLARATIONS PAGE for complete
     information on the coverage you have purchased. For each building not having sinkhole
     coverage, the phrase "SINKHOLE EXCLUDED" will be shown. If there is any conflict between
     the policy and this Advisory Notice to Policyholders, THE PROVISIONS OF THE POLICY SHALL
     PREVAIL.




    YOUR POLICY PROVIDES COVERAGE FOR A CATASTROPHIC GROUND COVER
    COLLAPSE THAT RESULTS IN THE PROPERTY BEING CONDEMNED AND
    UNINHABITABLE. OTHERWISE, YOUR POLICY DOES NOT PROVIDE COVERAGE
    FOR SINKHOLE LOSSES.

    YOU MAY PURCHASE ADDITIONAL COVERAGE FOR SINKHOLE LOSSES FOR AN
    ADDITIONAL PREMIUM.




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                                                                                      Mutual Company
                                                                                      Non assessable
                          CHURCH MUTUAL INSURANCE COMPANY
                              3000 Schuster Lane, P.O. Box 357, Merrill, WI 54452

                                 COMMON POLICY DECLARATIONS PAGE

                                            COINSURANCE CLAUSE

                    COINSURANCE CONTRACT: The rate charged in this policy is based upon
                          the use of the coinsurance clause attached to this policy,
                                       with the consent of the insured.


       THIS POLICY CONTAINS A SEPARATE DEDUCTIBLE
      FOR HURRICANE LOSSES WHICH MAY RESULT IN HIGH
             OUT- OF- POCKET EXPENSES TO YOU
         THIS POLICY CONTAINS A CO-PAY PROVISION
          THAT MAY RESULT IN HIGH OUT-OF-POCKET
                      EXPENSES TO YOU
    POLICY NO.: 0075558-02-040182

    ITEM 1. NAMED INSURED AND ADDRESS:
    THE BAPTIST COLLEGE OF FLORIDA
    5434 COLLEGE DR
    GRACEVILLE FL 32440-1847

    ITEM 2. POLICY PERIOD: FROM 10/15/17 TO 10/15/18                         0075558-02-928896
    12:01 A.M. STANDARD TIME AT YOUR MAILING ADDRESS SHOWN ABOVE              (RENEWAL OF)

    ITEM 3. THE NAMED INSURED IS: RELIGIOUS INSTITUTION

    ITEM 4 . .AGENT: 07-102
    TERRITORY 07-102
    3000 SCHUSTER LANE
    MERRILL WI 54452
    (800) 554-2642

    ITEM 5. THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS:

    FORMS AND ENDORSEMENTS WHICH APPLY TO THIS ENTIRE. POLICY:
    A 050(01-98)  MUTUAL AND COMMON POLICY CONDITIONS
    UN 720(01-15) NOTICE- DISCLOSURE OF TERRORISM PREMIUM

    PROPERTY COVERAGE PART AND ITS FORMS AND ENDORSEMENTS:
    A 100(01-01)  PROPERTY CONDITIONS
    A 1001(01-08) IDENTITY RECOVERY COVERAGE FORM
    A 1009(11-08) WATER EXCLUSION ENDORSEMENT
    A 101 (04-06) BUILDING AND PERSONAL PROPERTY COVERAGE - RELIGIOUS


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    A 105(01-01)      BUILDERS' RISK COVERAGE FORM
    A 106(01-01)      BUSINESS INCOME COVERAGE (INCLUDING EXTRA EXPENSE)                       ,- .
    A 115(06-87)      REFRIGERATED FOOD PRODUCTS
    A 117.1 (05-89)   COVERAGE EXTENSIONS AND ADDITIONAL COVERAGES
    A 127(04-06)      CAUSES OF LOSS - SPECIAL FORM
    A 134(06-87)      GLASS LIMITATION- SPECIAL CAUSES OF LOSS
    A 136(01-98)      PROTECTIVE SAFEGUARDS
    A 141(06-87)      ADDITIONAL PROPERTY NOT COVERED
    A 149(06-87)      DEDUCTIBLE - TWO OR MORE COVERAGE FORMS
    A 154(10-99)      SYSTEMS/EQUIPMENT BREAKDOWN COVERAGE FORM
    A 181 (04-15)     FLORIDA CHANGES
    A 181.3(10-15)    FLORIDA CHANGES - MEDIATION OR APPRAISAL(COMM RES PROP)
    A 186 FL(02-06)   WINDSTORM OR HAIL PERCENTAGE DEDUCTIBLE
    A 186.1(05-15)    FLORIDA HURRICANE PERCENTAGE DEDUCTIBLE-EACH HURRICANE (RESID'L RISK)
    A 918(12-15)      FLORIDA CHANGES - CANCELLATION AND NONRENEWAL
    A 918.2(04-15)    FLORIDA - SINKHOLE LOSS COVERAGE
    A 945.2(01-15)    CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM

    GENERAL LIABILITY COVERAGE PART AND ITS FORMS AND ENDORSEMENTS:
    A 052(06-87)      NUCLEAR ENERGY LIABILITY EXCLUSION - BROAD FORM
    A 200(01-04)      GENERAL LIABILITY COVERAGE PART - OCCURRENCE BASIS
    A 200.1(12-06)    AMENDATORY ENDORSEMENT-PERSONAL INJURY
    A 200.2 FL(07-16) BODILY INJURY DEFINITION
    A 2012 FL(07-16) CORPORATE ENTITY ENDORSEMENT
    A 2013 FL(07-16) MEDICAL EXPENSE AMENDMENT
    A 202(01-04)      GENERAL LIABILITY ADDITIONAL PROVISIONS- RELIGIOUS
    A 208(01-04)      COLLEGES OR SCHOOLS
    A 210(01-04)      CAMPS
    A 212(06-87)      PRODUCTS- COMPLETED OPERATIONS HAZARD REDEFINED
    A 221(01-98)      MANAGERS OR LESSORS OF PREMISES
    A 226(01-04)      ALL HAZARDS IN CONNECTION WITH DESIGNATED PREMISES
    A 229(06-87)      EXCLUSION - MEDICAL EXPENSE - SCHEDULE EXCLUDED LOC
    A 229.1 (05-89)   EXCLUSION - MEDICAL EXPENSE COVERAGE - SPECIFIC ACTIVITY OR EVENT
    A 234(01-98)      EXCLUSION - EXPLOSION, COLLAPSE AND UNDERGROUND PROPERTY
    A 242(01-04)      EXCLUDED OPERATIONS
    A 248(06-87)      EXCLUSION-BROADCASTING, TELECASTING OR PUBLISHING
    A 251(09-94)      EXCLUSION - LEAD LIABILITY
    A 253(01-04)      LEGAL DEFENSE COVERAGE
    A 254 FL(07-16)   AMENDMENT OF INSURING AGREEMENT-KNOWN INJURY OR DAMAGE
    A 255(01-04)      CATASTROPHIC VIOLENCE RESPONSE COVERAGE
    A 262(01-04)      SEXUAL MISCONDUCT OR SEXUAL MOLESTATION LIAB AND MED
    A 268(05-03)      WAR LIABILITY EXCLUSION
    A 918.1 (05-15)   FLORIDA CHANGES - CANCELLATION AND NONRENEWAL
    A 945.3(01-15)    CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM

    CRIME COVERAGE PART AND ITS FORMS AND ENDORSEMENTS:
    A 300(06-87)  CRIME CONDITIONS FORM
    A 306(06-87)  THEFT, DISAPPEARANCE AND DESTRUCTION COVERAGE FORM
    A 309(06-87)  BLANKET BOND COVERAGE FORM
    A 383(05-94)  FLORIDA CHANGES
    A 918(12-15)  FLORIDA CHANGES - CANCELLATION AND NONRENEWAL




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      INLAND MARINE COVERAGE PART AND ITS FORMS AND ENDORSEMENTS:
      A 400(06-87)   INLAND MARINE CONDITIONS
      A 401 (06-87)  SPECIAL SCHEDULED PROPERTY COVERAGE FORM
      A 402(06-87)   MAINTENANCE AND MOBILE EQUIPMENT COVERAGE FORM
      A 404(06-87)   REPLACEMENT COST
      A 483(04-15)   FLORIDA CHANGES
      A 918(12-15)   FLORIDA CHANGES - CANCELLATION AND NONRENEWAL
      A 945.2(01-15) CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM

      PROFESSIONAL LIABILITY COVERAGE PART AND ITS FORMS AND ENDORSEMENTS:
      A 500(01-91)      COUNSELING PROFESSIONAL LIABILITY COVERAGE - OCCURRENCE
      A 501.7(08-16)    EXCLUSION - FINANCIAL COUNSELING
      A 505(12-04)      DIRECTORS, OFFICERS & TRUSTEES LIAB- CLAIMS MADE
      A 515 FL(11-16)   EXCLUSION - COUNSELING PERSON(S), POSITION(S), OR ORGANIZATION(S)
      A 520(01-04)      EMPLOYMENT PRACTICES LIABILITY COVERAGE
      A 528(10-03)      EDUCATORS LIABILITY ENDORSEMENT
      A 529(12-04)      EMPLOYMENT PRACTICES LIABILITY COVERAGE AMENDMENT
      A 530(12-06)      AFFILIATED ENTITY DISPUTE LEGAL DEFENSE COVERAGE
      A 555(05-15)      FLORIDA CHANGES - CANCELLATION AND NONRENEWAL
      A 945.3(01-15)    CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
      DOT 913-FL(02-07)APPLICATION FOR DIRECTORS, OFFICERS & TRUSTEES UAB
      EL 900-FL(03-04) SUPPLEMENTAL APPLICATION FOR EDUCATORS LIABILITY
      EPL 914-FL(02-07) APPLICATION FOR EMPLOYMENT PRACTICES LIABILITY

      HIRED AND NONOWNED AUTOMOBILE LIABILITY COVERAGE PART AND ITS FORMS AND
      ENDORSEMENTS:
      A 600(01-04)      HIRED AND NONOWNED AUTO LIAB- RELIGIOUS INSTITUTION
      A 602(06-00)      MEDICAL EXPENSE COVERAGE
      A 602.1 FL(07-16) HIRED AND NONOWNED AUTOMOBILE MEDICAL EXPENSE AMENDMENT
      A 605(01-03)      RENTAL AUTOMOBILE CONTRACTUAL LIABILITY ENDORSEMENT
      A 683(01-06)      FLORIDA CHANGES
      A 683.1 (07-06)   HIRED/NONOWNED AUTO UNINSURED MOTORISTS COV-FLORIDA
      A 918.1(05-15)    FLORIDA CHANGES- CANCELLATION AND NONRENEWAL
      A 945.3(01-15)    CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM

      ITEM 6.. PREMIUM: IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO
      ALL THE TERMS OF THIS POLICY, VVE AGREE WITH YOU TO PROVIDE THE INSURANCE AS
      STATED IN THIS POLICY.

      $181,358.00                      DUE AT INCEPTION.

      - SUMMARY OF ADDITIONAL CHARGES (INCLUDED IN ANNUAL PREMIUM).,.

      STATE SURCHARGE                                                $        4.00 ANNUAL CHARGE
      TERRORISM RISK INSURANCE:                                      $      830.00 ANNUAL CHARGE




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                                      PROPERTY COVERAGE PART
                                        DECLARATIONS PAGE


     POLICY NO.: 0075558-02-040182

     ITEM 1. DESCRIPTION OF PREMISES AND COVERAGES:
     BLANKET DETAILS:          BLANKET                                             LIMIT
                                 NO.   DESCRIPTION                            OF INSURANCE

                                  1      BUILDING & PERSONAL PROPERTY         $   34,049,970




     BLANKET LIMIT OF INSURANCE IS PER SCHEDULE IN COMPANY FILE.



     AGREED VALUE LIMIT OF INSURANCE IS THE BLANKET LIMIT SHOWN FOR ALL BUILDINGS AND
     PERSONAL PROPERTY INCLUDED IN THE BLANKET.

     *************************************************************************

     PREMISES NO:         001        BUILDING NO:   001
     CONSTRUCTION:        NON-COMBUSTIBLE
     OCCUPANCY:           GRACEVILLE HALL
     LOCATION:            5434 COLLEGE DR
     COUNTY:              JACKSON
     CITY/STATE:          GRACEVILLE, FL

     COVERAGE: BUILDING
     LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
     COINSURANCE PERCENT: 90%
     COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
     VALUATION: REPLACEMENT COST
     OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                          AGREED VALUE

     COVERAGE: PERSONALPROPERTY
     LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
     COINSURANCE PERCENT: 90%
     COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
     VALUATION: REPLACEMENT COST
     OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                          AGREED VALUE




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    COVERAGE: BUSINESS INCOME WITH .EXTRA EXPENSE
    LIMIT OF INSURANCE: $28,280
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

    REFRIGERATED FOOD PRODUCTS ENDORSEMENT.             LIMIT OF INSURANCE: $2,000

    *************************************************************************

    PREMISES NO:         001         BUILDING NO: 002
    CONSTRUCTION:        MASONRY NON-COMBUSTIBLE
    OCCUPANCY:           IDA J MCMILLAN LIBRARY
    LOCATION:            5438 COLLEGE DR
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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    PREMISES NO:         001        BUILDING NO:   003
    CONSTRUCTION:        NON-COMBUSTIBLE
    OCCUPANCY:           ED SOLOMON HALL
    LOCATION:            5430 COLLEGE DR
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

    *************************************************************************

    PREMISES NO:         001        BUILDING NO:   004
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           RG LEE CHAPEL
    LOCATION:            5424 COLLEGE DR
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL




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    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE- BLANKET NO. 1: BUILDING & PERSONAL PROPERTY       -~,
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

    ***************'**********************************************************

    PREMISES NO:         001        BUILDING NO:   005
    OCCUPANCY:           LIGHT POLES
    LOCATION:            5400 COLLEGE DR
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $66,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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    PREMISES NO:         001         BUILDING NO: 006
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           BRACKIN - CHANDLER HALL
    LOCATION:            5412 INSTITUTE PL
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUil.DiNG
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONAL PROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $27,125
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

    ******************************************************************~******

    PREMISES NO:         001         BUILDING NO: 007
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           SOUTHWEST APTS (101-104)WEST WING
    LOCATION:            5402 INSTITUTE PL
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL




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    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY      ~·,
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS .INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001         BUILDING NO: 008
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           SOUTHWEST APTS (201-204)NORTH WING
    LOCATION:            5464 INSTITUTE PL
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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     COVERAGE: PERSONALPROPERTY
     LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
     COINSURANCE PERCENT: 90%
     COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
     VALUATION: REPLACEMENT COST
     OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                          AGREED VALUE

     COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
     LIMIT OF INSURANCE: $9,420
     COINSURANCE PERCENT: 50%
     COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                FL SINKHOLE INCLUDED

     OTHER AMENDMENTS OR ENDORSEMENTS:

     GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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     PREMISES NO:         001         BUILDING NO: 009
     CONSTRUCTION:        JOISTED MASONRY
     OCCUPANCY:           SOUTHWEST APTS (301-304) EAST WING
     LOCATION:            5440 INSTITUTE PL
     COUNTY:              JACKSON
     CITY/STATE:          GRACEVILLE, FL

     COVERAGE: BUILDING
     LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
     COINSURANCE PERCENT: 90%
     COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
     VALUATION: REPLACEMENT COST
     OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                          AGREED VALUE

     COVERAGE: PERSONALPROPERTY
     LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
     COINSURANCE PERCENT: 90%
     COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
     VALUATION: REPLACEMENT COST
     OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                          AGREED VALUE




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    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001         BUILDING NO:   010
    CONSTRUCTION:        NON-COMBUSTIBLE
    OCCUPANCY:           FRANK FARRIS CENTER
    LOCATION:            5423 INSTITUTE PL
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONAL PROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURAN.CE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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    PREMISES NO:         001        BUILDING NO: 011
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           MCRAE MORROW CLASSROOM
    LOCATION:            1121 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9.,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT



    PREMISES NO:         001         BUILDING NO: 012
    CONSTRUCTION:        FRAME
    OCCUPANCY:           EAST LAKE CENTER - DORM
    LOCATION:            1164 12TH AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL




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    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY      ~'
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $13,125
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:          001         BUILDING NO:   013
    CONSTRUCTION:         FRAME
    OCCUPANCY:            STORAGE SHED
    LOCATION:             1164 12TH AVE
    COUNTY:               JACKSON
    CITY/STATE:           GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $15,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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    PREMISES NO:         001        BUILDING NO:   015
    CONSTRUCTION:        FRAME
    OCCUPANCY:           RADIO STATION
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

~   GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO: 016
    CONSTRUCTION:        FRAME
    OCCUPANCY:           TWO FAMILY NON-OWNER OCCUPIED UNIT 19 & 20
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO: 017
    CONSTRUCTION:        FRAME
    OCCUPANCY:           TWO FAMILY NON-OWNER OCCUPIED UNIT 21 & 22
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO: 018
    CONSTRUCTION:        FRAME
    OCCUPANCY:           TWO FAMILY NON-OWNER OCCUPIED UNIT 26 & 27
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL




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      COVERAGE: BUILDING
      LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
      COINSURANCE PERCENT: 90%
      COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED
      VALUATION: REPLACEMENT COST
      OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                           AGREED VALUE

      COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
      LIMIT OF INSURANCE: $9,420
      COINSURANCE PERCENT: 50%
      COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                 FL SINKHOLE INCLUDED

      OTHER AMENDMENTS OR ENDORSEMENTS:

      GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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      PREMISES NO:         001        BUILDING NO: 019
      CONSTRUCTION:        FRAME
      OCCUPANCY:           TWO FAMILY NON-OWNER OCCUPIED UNIT 29 & 30
      LOCATION:            1157 SANDERS AVE
      COUNTY:              JACKSON
      CITY/STATE:          GRACEVILLE, FL

      COVERAGE: BUILDING
      LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
      COINSURANCE PERCENT: 90%                      .
      COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED
      VALUATION: REPLACEMENT COST
      OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                           AGREED VALUE

      COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
      LIMIT OF INSURANCE: $9,420
      COINSURANCE PERCENT: 50%
      COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                 FL SINKHOLE INCLUDED

      OTHER AMENDMENTS OR ENDORSEMENTS:

      GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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    PREMISES NO:         001        BUILDING NO: 020
    CONSTRUCTION:        FRAME
    OCCUPANCY:           TWO FAMILY NON-OWNER OCCUPIED UNIT 31 & 32
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO: 023
    CONSTRUCTION:        FRAME
    OCCUPANCY:           ONE FAMILY NON-OWNER OCCUPIED UNIT 10
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO: 024
    CONSTRUCTION:        FRAME
    OCCUPANCY:           ONE FAMILY NON-OWNER OCCUPIED UNIT 15
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE
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    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001         BUILDING NO: 025
    CONSTRUCTION:        FRAME
    OCCUPANCY:           ONE FAMILY NON-OWNER OCCUPIED UNIT 16
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          G.RACEVILLE, FL




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    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY      ~~
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO: 026
    CONSTRUCTION:        FRAME
    OCCUPANCY:           ONE FAMILY NON-OWNER OCCUPIED UNIT 17
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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      PREMISES NO:         001        BUILDING NO: 027
      CONSTRUCTION:        FRAME
      OCCUPANCY:           ONE FAMILY NON-OWNER OCCUPIED UNIT 23
      LOCATION:            1157 SANDERS AVE
      COUNTY:              JACKSON
      CITY/STATE:          GRACEVILLE, FL

      COVERAGE: BUILDING
      LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
      COINSURANCE PERCENT: 90%
      COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED
      VALUATION: REPLACEMENT COST
      OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                           AGREED VALUE

      COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
      LIMIT OF INSURANCE: $9,420
      COINSURANCE PERCENT: 50%
      COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                 FL SINKHOLE INCLUDED

      OTHER AMENDMENTS OR ENDORSEMENTS:

      GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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      PREMISES NO:         001        BUILDING NO: 028
      CONSTRUCTION:        FRAME
      OCCUPANCY:           TWO FAMILY NON-OWNER OCCUPIED UNIT 41 & 42
      LOCATION:            1157 SANDERS AVE
      COUNTY:              JACKSON
      CITY/STATE:          GRACEVILLE, FL

      COVERAGE: BUILDING
      LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1 :. BUILDING & PERSONAL PROPERTY
      COINSURANCE PERCENT: 90%
      COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED
      VALUATION: REPLACEMENT COST
      OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                           AGREED VALUE




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COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
LIMIT OF INSURANCE: $9,420
COINSURANCE PERCENT: 50%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                           FL SINKHOLE INCLUDED

OTHER AMENDMENTS OR ENDORSEMENTS:

GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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PREMISES NO:         001        BUILDING NO: 029
CONSTRUCTION:        FRAME
OCCUPANCY:           TWO FAMILY NON-OWNER OCCUPIED UNIT 43 & 44
LOCATION:            1157 SANDERS AVE
COUNTY:              JACKSON
CITY/STATE:          GRACEVILLE, FL

COVERAGE: BUILDING
LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                         FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE

COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
LIMIT OF INSURANCE: $9,420
COINSURANCE PERCENT: 50%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                           FL SINKHOLE INCLUDED

OTHER AMENDMENTS OR ENDORSEMENTS:

GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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PREMISES NO:         001        BUILDING NO:   030
CONSTRUCTION:        JOISTED MASONRY
OCCUPANCY:           PHYSICAL PLANT
LOCATION:            1181 SANDERS AVE
COUNTY:              JACKSON
CITY/STATE:          GRACEVILLE, FL




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    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO:   031
    CONSTRUCTION:        FRAME
    OCCUPANCY:           BROVVN HOUSE
    LOCATION:            1130 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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     COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
     LIMIT OF INSURANCE: $9,420
     COINSURANCE PERCENT: 50%
     COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                                                                             '
                                FL SINKHOLE INCLUDED

     OTHER AMENDMENTS OR ENDORSEMENTS:

     GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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     PREMISES NO:         001         BUILDING NO: 032
     CONSTRUCTION:        FRAME
     OCCUPANCY:           EZELL STREET APARTMENTS (101~104)
     LOCATION:            5405 EZELL ST
     COUNTY:              JACKSON
     CITY/STATE:          GRACEVILLE, FL

     COVERAGE: BUILDING
     LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
     COINSURANCE PERCENT: 90%
     COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
     VALUATION: REPLACEMENT COST
     OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                          AGREED VALUE

     COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
     LIMIT OF INSURANCE: $9,420
     COINSURANCE PERCENT: 50%
     COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                FL SINKHOLE INCLUDED

     OTHER AMENDMENTS OR ENDORSEMENTS:

     GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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     PREMISES NO:         001         BUILDING NO:   033
     CONSTRUCTION:        JOISTED MASONRY
     OCCUPANCY:           CAMPUS LAUNDROMAT
     LOCATION:            5454 INSTITUTE PL
     COUNTY:              JACKSON
     CITY/STATE:          GRACEVILLE, FL




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COVERAGE: BUILDING
LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                         FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE

COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
LIMIT OF INSURANCE: $9,420
COINSURANCE PERCENT: 50%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                           FL SINKHOLE INCLUDED

OTHER AMENDMENTS OR ENDORSEMENTS:

GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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PREMISES NO:         001        BUILDING NO: 034
CONSTRUCTION:        FRAME
OCCUPANCY:           TWO FAMILY NON-OWNER OCCUPIED UNIT 24
LOCATION:            1157 SANDERS AVE
COUNTY:              JACKSON
CITY/STATE:          GRACEVILLE, FL

COVERAGE: BUILDING
LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                         FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE

COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
LIMIT OF INSURANCE: $9,420
COINSURANCE PERCENT: 50%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                           FL SINKHOLE INCLUDED

OTHER AMENDMENTS OR ENDORSEMENTS:

GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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    PREMISES NO:         001        BUILDING NO: 035
    CONSTRUCTION:        FRAME
    OCCUPANCY:           TWO FAMILY NON-OWNER OCCUPIED UNIT 25
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50% ·
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO: 036
    CONSTRUCTION:        FRAME
    OCCUPANCY:           TWO FAMILY NON-OWNER OCCUPIED UNIT 33
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO: 037
    CONSTRUCTION:        FRAME
    OCCUPANCY:           TWO FAMILY NON-OWNER OCCUPIED UNIT 34
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO: 038
    CONSTRUCTION:        FRAME
    OCCUPANCY:           TWO FAMILY NON-OWNER OCCUPIED UNIT 37
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL




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    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
                                                                                            ·,
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO: 039
    CONSTRUCTION:        FRAME
    OCCUPANCY:           TWO FAMILY NON-OWNER OCCUPIED UNIT 38
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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    PREMISES NO:         001        BUILDING NO: 040
    CONSTRUCTION:        FRAME
    OCCUPANCY:           TWO FAMILY NON-OWNER OCCUPIED UNIT 39
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO: 041
    CONSTRUCTION:        FRAME
    OCCUPANCY:           TWO FAMILY NON-OWNER OCCUPIED UNIT 40
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO:   042
    CONSTRUCTION:        FRAME
    OCCUPANCY:           CLASSROOM
    LOCATION:            5496 HERITAGE DR
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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    PREMISES NO:         001        BUILDING NO:   043
    CONSTRUCTION:        FRAME
    OCCUPANCY:           BUTTS HOUSE
    LOCATION:            5452 HERITAGE DR
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $51,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $35,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO:   044
    CONSTRUCTION:        FRAME
    OCCUPANCY:           OLD SCHOOL HOUSE
    LOCATION:            5460 HERITAGE DR
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL




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    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $24,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $35,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO:   045
    CONSTRUCTION:        FRAME
    OCCUPANCY:           GRACEVILLE CLUBHOUSE
    LOCATION:            5487 HERITAGE DR
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001         BUILDING NO: 046
    CONSTRUCTION:        MASONRY NON-COMBUSTIBLE
    OCCUPANCY:           ASSEMBLY CENTER
    LOCATION:            5419 INSTITUTE PL
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    PROTECTIVE SAFEGUARDS ENDORSEMENT.
    SYMBOL: P-1
    DESCRIPTION OF SYSTEM: AUTOMATIC SPRINKLER

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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    PREMISES NO:         001         BUILDING NO:   047
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           NAPIER HALL (801-824)
    LOCATION:            5422 INSTITUTE PL
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO:    048
    CONSTRUCTION:        FRAME
    OCCUPANCY:           OGLE TREE HALL (DORM)
    LOCATION:            1191 SANDERS AVE UNIT 3
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL




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    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $12,250
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL
                              FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    PROTECTIVE SAFEGUARDS ENDORSEMENT.
    SYMBOL: P-1
    DESCRIPTION OF SYSTEM: AUTOMATIC SPRINKLER

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    PREMISES NO:         001         BUILDING NO:   049
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           LAKESIDE DORM (703-723)
    LOCATION:            5443 INSTITUTE PL
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY      ~,
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $41,125
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO:   050
    CONSTRUCTION:        FRAME
    OCCUPANCY:           DRAUGHON CENTER
    LOCATION:            1186 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO: 051
    CONSTRUCTION:        FRAME
    OCCUPANCY:           ONE FAMILY NON-OWNER OCCUPIED DWELLING
    LOCATION:            1178 SHEPHERDS WAY
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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     PREMISES NO:         001        BUILDING NO: 052
     CONSTRUCTION:        FRAME
     OCCUPANCY:           ONE FAMILY NON-OWNER OCCUPIED DWELLING
     LOCATION:            1180 SHEPHERDS WAY
     COUNTY:              JACKSON
     CITY/STATE:          GRACEVILLE, FL

     COVERAGE: BUILDING
     LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
     COINSURANCE PERCENT: 90%
     COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
     VALUATION: REPLACEMENT COST
     OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                          AGREED VALUE

     COVERAGE: PERSONALPROPERTY
     LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
     COINSURANCE PERCENT: 90%
     COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
     VALUATION: REPLACEMENT COST
     OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                          AGREED VALUE

     COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
     LIMIT OF INSURANCE: $9,420
     COINSURANCE PERCENT: 50%
     COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                FL SINKHOLE INCLUDED

     OTHER AMENDMENTS OR ENDORSEMENTS:

     GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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     PREMISES NO:         001        BUILDING NO: 053
     CONSTRUCTION:        FRAME
     OCCUPANCY:           ONE FAMILY NON-OWNER OCCUPIED DWELLING
     LOCATION:            1182 SHEPHERDS WAY
     COUNTY:              JACKSON
     CITY/STATE:          GRACEVILLE, FL




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    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT



    PREMISES NO:         001        BUILDING NO: 054
    CONSTRUCTION:        FRAME
    OCCUPANCY:           ONE FAMILY NON-OWNER OCCUPIED DWELLING
    LOCATION:            1189 BUDD WAY
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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COVERAGE: PERSONALPROPERTY
LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                         FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE

COVERAGE: BUSINESS INCOMEWITH EXTRA EXPENSE
LIMIT OF INSURANCE: $9,420
COINSURANCE PERCENT: 50%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                           FL SINKHOLE INCLUDED

OTHER AMENDMENTS OR ENDORSEMENTS:

GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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PREMISES NO:         001        BUILDING NO:   055
OCCUPANCY:           RADIO TOWER
LOCATION:            1159 SANDERS AVE
COUNTY:              JACKSON
CITY/STATE:          GRACEVILLE, FL

COVERAGE: BUILDING
LIMIT OF INSURANCE: $241,000
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                          FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE

OTHER AMENDMENTS OR ENDORSEMENTS:

GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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PREMISES NO:         001        BUILDING NO: 056
CONSTRUCTION:        FRAME
OCCUPANCY:           JW AND JOYCE LEE HOUSE
LOCATION:            1150 SANDERS AVE
COUNTY:              JACKSON
CITY/STATE:          GRACEVILLE, FL




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COVERAGE: BUILDING
LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                         FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE

COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
LIMIT OF INSURANCE: $9,420
COINSURANCE PERCENT: 50%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                           FL SINKHOLE INCLUDED

OTHER AMENDMENTS OR ENDORSEMENTS:

GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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PREMISES NO:         001        BUILDING NO:   057
CONSTRUCTION:        FRAME
OCCUPANCY:           CLASSROOM
LOCATION:            5476 HERITAGE DR
COUNTY:              JACKSON
CITY/STATE:          GRACEVILLE, FL

COVERAGE: BUILDING
LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                         FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE

COVERAGE: PERSONALPROPERTY
LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                         FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE

OTHER AMENDMENTS OR ENDORSEMENTS:

GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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PREMISES NO:         001        BUILDING NO: 058
CONSTRUCTION:        FRAME
OCCUPANCY:           1 FAM NON-OWNER OCCUPIED DWELLING (CARLTON HOUSE)
LOCATION:            5504 HERITAGE DR
COUNTY:              JACKSON
CITY/STATE:          GRACEVILLE, FL

COVERAGE: BUILDING
LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                         FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE

COVERAGE: PERSONALPROPERTY
LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                         FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE

COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
LIMIT OF INSURANCE: $9,420
COINSURANCE PERCENT: 50%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                           FL SINKHOLE INCLUDED

OTHER AMENDMENTS OR ENDORSEMENTS:

GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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PREMISES NO:         001        BUILDING NO: 059
CONSTRUCTION:        FRAME
OCCUPANCY:           1 FAM NON-OWNER OCCUPIED DWELLING (WILLIAMS HOUSE)
LOCATION:            1180 SANDERS AVE
COUNTY:              JACKSON
CITY/STATE:          GRACEVILLE, FL




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      COVERAGE: BUILDING
      LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
      COINSURANCE PERCENT: 90%
      COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED
      VALUATION: REPLACEMENT COST
      OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                           AGREED VALUE

      COVERAGE: PERSONALPROPERTY
      LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
      COINSURANCE PERCENT: 90%
      COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED
      VALUATION: REPLACEMENT COST
      OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                           AGREED VALUE

      COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
      LIMIT OF INSURANCE: $9,420
      COINSURANCE PERCENT: 50%
      COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                 FL SINKHOLE INCLUDED

      OTHER AMENDMENTS OR ENDORSEMENTS:

      GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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      PREMISES NO:         001         BUILDING NO: 060
      CONSTRUCTION:        FRAME
      OCCUPANCY:           STUDENT HOUSING DORM (THE POD)
      LOCATION:            5462 INSTITUTE PL
      COUNTY:              JACKSON
      CITY/STATE:          GRACEVILLE, FL

      COVERAGE: BUILDING
      LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
      COINSURANCE PERCENT: 90%
      COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED
      VALUATION: REPLACEMENT COST
      OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                           AGREED VALUE




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    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1.: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $8,750
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO:   061
    CONSTRUCTION:        FRAME
    OCCUPANCY:           ADMINISTRATIVE OFFICE
    LOCATION:            5400 COLLEGE DR
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $.9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001         BUILDING NO:   062
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           LESSOR'S RISK
    LOCATION:            5422 CLIFF ST
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO: 063
    CONSTRUCTION:        FRAME
    OCCUPANCY:           LESSOR'S RISK (MOBILE HOME-WIREGRASS CLINIC LLC)
    LOCATION:            5556 BROWN ST
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL




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COVERAGE: BUILDING
LIMIT OF INSURANCE: $67,000
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                          FL SINKHOLE INCLUDED
VALUATION: ACTUAL CASH VALUE
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE

COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
LIMIT OF INSURANCE: $6,000
COINSURANCE PERCENT: 50%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                           FL SINKHOLE INCLUDED

OTHER AMENDMENTS OR ENDORSEMENTS:

GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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PREMISES NO:         001        BUILDING NO: 064
CONSTRUCTION:        FRAME
OCCUPANCY:           ONE FAMILY NON-OWNER OCCUPIED UNIT #9
LOCATION:            1187 BUDD WAY
COUNTY:              JACKSON
CITY/STATE:          GRACEVILLE, FL

COVERAGE: BUILDING
LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                         FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE

COVERAGE: .PERSONAL PROPERTY
LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                         FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE

COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
LIMIT OF INSURANCE: $9,420
COINSURANCE PERCENT: 50%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                           FL SINKHOLE INCLUDED




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    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO: 065
    CONSTRUCTION:        FRAME
    OCCUPANCY:           ONE FAMILY NON-OWNER OCCUPIED UNIT#10
    LOCATION:            1185 BUDD WAY
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SP.ECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO:   066
    CONSTRUCTION:        FRAME
    OCCUPANCY:           CLASSROOM
    LOCATION:            5464 HERITAGE DR
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL




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    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $241,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $37,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $9,420
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001         BUILDING NO:   067
    CONSTRUCTION:        FRAME
    OCCUPANCY:           AMPHITHEATRE
    LOCATION:            5423 INSTITUTE PL
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $29,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AG.REED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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PREMISES NO:         001        BUILDING NO:    068
CONSTRUCTION:        FRAME
OCCUPANCY:           CANE MILL
LOCATION:            5456 HERITAGE DR
COUNTY:              JACKSON
CITY/STATE:          GRACEVILLE, FL

COVERAGE: BUILDING
LIMIT OF INSURANCE: $11,000
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                          FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE

OTHER AMENDMENTS OR ENDORSEMENTS:

GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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PREMISES NO:         001         BUILDING NO:   069
CONSTRUCTION:        FRAME
OCCUPANCY:           COVERED EATING AREA
LOCATION:            5423 INSTITUTE PL
COUNTY:              JACKSON
CITY/STATE:          GRACEVILLE, FL

COVERAGE: BUILDING
LIMIT OF INSURANCE: $22,000
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                          FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE

OTHER AMENDMENTS OR ENDORSEMENTS:

GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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PREMISES NO:         001        BUILDING NO:    070
OCCUPANCY:           SIGN
LOCATION:            5400 COLLEGE DR
COUNTY:              JACKSON
CITY/STATE:          GRACEVILLE, FL




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       COVERAGE: BUILDING
       LIMIT OF INSURANCE: $17,000
       COINSURANCE PERCENT: 90%
       COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                 FL SINKHOLE INCLUDED
       VALUATION: REPLACEMENT COST
       OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                            AGREED VALUE

       OTHER AMENDMENTS OR ENDORSEMENTS:

       GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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       PREMISES NO:         001        BUILDING NO: 071
       CONSTRUCTION:        FRAME
       OCCUPANCY:           DANIEL PLAZA GAZEBO AND J NIXON PLAZA GAZEBO
       LOCATION:            5400 COLLEGE DR
       COUNTY:              JACKSON
       CITY/STATE:          GRACEVILLE, FL

       COVERAGE: BUILDING
       LIMIT OF INSURANCE: $29,000
       COINSURANCE PERCENT: 90%
       COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                 FL SINKHOLE INCLUDED
       VALUATION: REPLACEMENT COST
       OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                            AGREED VALUE

       OTHER AMENDMENTS OR ENDORSEMENTS:

       GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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       PREMISES NO:         001        BUILDING NO:   072
       OCCUPANCY:           DOCK
       LOCATION:            1186 SANDERS WAY
       COUNTY:              JACKSON
       CITY/STATE:          GRACEVILLE, FL

       COVERAGE: BUILDING
       LIMIT OF INSURANCE: $19,000
       COINSURANCE PERCENT: 90%
       COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                 FL SINKHOLE INCLUDED
       VALUATION: REPLACEMENT COST
       OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                            AGREED VALUE




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    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO: 073
    CONSTRUCTION:        FRAME
    OCCUPANCY:           BULLOCK HOUSE (1 FAMILY NON OWNER OCC DWELLING)
    LOCATION:            5423 COLLEGE DR
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMITOF INSURANCE: $101,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                        AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $17,000
    COINSURANCE PERCENT: 80%
    COVERED CAUSE OF LOSS: SPECIAL
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $4,200
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO:   074
    CONSTRUCTION:        FRAME
    OCCUPANCY:           RESTROOM
    LOCATION:            5473 HERITAGE DR
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL




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    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO:   075
    CONSTRUCTION:        FRAME
    OCCUPANCY:           CONRAD HOUSE
    LOCATION:            1191 SANDERS AVE UNIT 1
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $12,250
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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PREMISES NO:         001        BUILDING NO:   076
CONSTRUCTION:        FRAME
OCCUPANCY:           COURTYARD HOUSE
LOCATION:            1191 SANDERS AVE UNIT 2
COUNTY:              JACKSON
CITY/STATE:          GRACEVILLE, FL

COVERAGE: BUILDING
LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                         FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE

COVERAGE: PERSONALPROPERTY
LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                         FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE

COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
LIMIT OF INSURANCE: $12,250
COINSURANCE PERCENT: 50%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                          FL SINKHOLE INCLUDED

OTHER AMENDMENTS OR ENDORSEMENTS:

GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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PREMISES NO:         001         BUILDING NO: 077
CONSTRUCTION:        FRAME
OCCUPANCY:           TWO FAMILY NON-OWNER OCCUPIED TAYLOR DUPLEX
LOCATION:            5401 EZELL ST UNIT 105 & 106
COUNTY:              JACKSON
CITY/STATE:          GRACEVILLE, FL




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    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOME WITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $12,250
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001         BUILDING NO:   078
    CONSTRUCTION:        FRAME
    OCCUPANCY:           SMITH HALL (601-623)
    LOCATION:            5433 INSTITUTE PL
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: BUSINESS INCOMEWITH EXTRA EXPENSE
    LIMIT OF INSURANCE: $27, 125
    COINSURANCE PERCENT: 50%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO: 079
    CONSTRUCTION:        FRAME
    OCCUPANCY:           MILL CENTER CLASSROOM AND OFFICE
    LOCATION:            5412 COLLEGE DR
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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     PREMISES NO:         001        BUILDING NO: 080
     CONSTRUCTION:        FRAME
     OCCUPANCY:           MUSIC DEPARTMENT (CLASSROOMS)
     LOCATION:            5461 HERITAGE DR
     COUNTY:              JACKSON
     CITY/STATE:          GRACEVILLE, FL

     COVERAGE: BUILDING
     LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
     COINSURANCE PERCENT: 90%
     COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
     VALUATION: ACTUAL CASH VALUE
     OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                          AGREED VALUE

     COVERAGE: PERSONALPROPERTY
     LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
     COINSURANCE PERCENT: 90%
     COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
     VALUATION: ACTUAL CASH VALUE
     OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                          AGREED VALUE

     OTHER AMENDMENTS OR ENDORSEMENTS:

     GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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     PREMISES NO:         001        BUILDING NO:   081
     CONSTRUCTION:        FRAME
     OCCUPANCY:           POLE BARN
     LOCATION:            5379 HERITAGE DR
     COUNTY:              JACKSON
     CITY/STATE:          GRACEVILLE, FL

     COVERAGE: BUILDING
     LIMIT OF INSURANCE: $52,000
     COINSURANCE PERCENT: 90%
     COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED
     VALUATION: REPLACEMENT COST
     OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                          AGREED VALUE




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            OTHER AMENDMENTS OR ENDORSEMENTS:

            GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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            PREMISES NO:         001        BUILDING NO:    082
            CONSTRUCTION:        NON-COMBUSTIBLE
            OCCUPANCY:           STORM SHELTER 1
            LOCATION:            4561 HERITAGE DR
            COUNTY:              JACKSON
            CITY/STATE:          GRACEVILLE, FL

            COVERAGE: BUILDING
            LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
            COINSURANCE PERCENT: 90%
            COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                     FL SINKHOLE INCLUDED
            VALUATION: REPLACEMENT COST
            OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE

            COVERAGE: PERSONALPROPERTY
            LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
            COINSURANCE PERCENT: 90%
            COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                     FL SINKHOLE INCLUDED
            VALUATION: REPLACEMENT COST
            OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE

            OTHER AMENDMENTS OR ENDORSEMENTS:

            GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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            PREMISES NO:         001         BUILDING NO:   083
            CONSTRUCTION:        NON-COMBUSTIBLE
            OCCUPANCY:           STORM SHELTER 2
            LOCATION:            5401 EZELL ST
            COUNTY:              JACKSON
            CITY/STATE:          GRACEVILLE, FL

            COVERAGE: BUILDING
            LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
            COINSURANCE PERCENT: 90%
            COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                     FL SINKHOLE INCLUDED
            VALUATION: REPLACEMENT COST
            OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE




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    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY      r
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO:   084
    CONSTRUCTION:        NON-COMBUSTIBLE
    OCCUPANCY:           STORM SHELTER 3
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
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    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001        BUILDING NO:   085
    CONSTRUCTION:        NON-COMBUSTIBLE
    OCCUPANCY:           STORM SHELTER 4
    LOCATION:            1181 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL




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    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE


    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         001         BUILDING NO:   086
    CONSTRUCTION:        NON-COMBUSTIBLE
    OCCUPANCY:           STORM SHELTER 5
    LOCATION:            5410 INSTITUTE PL
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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PREMISES NO:         005        BUILDING NO: 090
CONSTRUCTION:        FRAME
OCCUPANCY:           MAINTENANCE & STORAGE
LOCATION:            5379 HERITAGE DR
COUNTY:              JACKSON
CITY/STATE:          GRACEVILLE, FL

COVERAGE: BUILDING
LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                         FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE

COVERAGE: PERSONALPROPERTY
LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                         FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE

OTHER AMENDMENTS OR ENDORSEMENTS:

GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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PREMISES NO:         006        BUILDING NO: 091
CONSTRUCTION:        NON-COMBUSTI.BLE
OCCUPANCY:           CAFETERIA (DEESE CENTER)
LOCATION:            1129 SANDERS AVE
COUNTY:              JACKSON
CITY/STATE:          GRACEVILLE, FL

COVERAGE: BUILDING
LIMIT OF INSURANCE: $1,466,000
COINSURANCE PERCENT: 90%
COVERED CAUSE OF LOSS: SPECIAL
                           FL SINKHOLE INCLUDED
VALUATION: REPLACEMENT COST
OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                     AGREED VALUE




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    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $220,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




    PREMISES NO:         007         BUILDING NO: 092
    CONSTRUCTION:        FRAME
    OCCUPANCY:           ONE FAMILY NON OWNER OCCUPIED DWELLING
    LOCATION:            1105 12TH AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         009        BUILDING NO: 094
    CONSTRUCTION:        FRAME
    OCCUPANCY:           ONE FAMILY OWNER OCCUPIED DWELLING
    LOCATION:            111312THAVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL




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    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         009        BUILDING NO: 095
    CONSTRUCTION:        FRAME
    OCCUPANCY:           STORAGE SHED AND GARAGE
    LOCATION:            111312TH AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: BLANKET COVERAGE - BLANKET NO. 1: BUILDING & PERSONAL PROPERTY
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                             FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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    PREMISES NO:         010        BUILDING NO:   096
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           HOTEL BUILDING 100
    LOCATION:            2650 LAKESHORE DR
    COUNTY:              JACKSON
    CITY/STATE:          MARIANNA, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $1,031,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $155,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT



    PREMISES NO:         010        BUILDING NO: 097
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           POOL SHOV\IER ROOM/CHLORINATION STATION
    LOCATION:            2650 LAKESHORE DR
    COUNTY:              JACKSON
    CITY/STATE:          MARIANNA, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $219,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         010        BUILDING NO:   098
    CONSTRUCTION:        FRAME
    OCCUPANCY:           POOL OPEN AIR PAVILION
    LOCATION:            2650 LAKESHORE DR
    COUNTY:              JACKSON
    CITY/STATE:          MARIANNA, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $13,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         010        BUILDING NO:   09.9
    CONSTRUCTION:        NON-COMBUSTIBLE
    OCCUPANCY:           MAINTENANCE BUILDING
    LOCATION:            2650 LAKESHORE DR
    COUNTY:              JACKSON
    CITY/STATE:          MARIANNA, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $178,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $28,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         010        BUILDING NO:   100
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           RV HOUSE
    LOCATION:            2650 LAKESHORE DR
    COUNTY:              JACKSON
    CITY/STATE:          MARIANNA, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $140,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $22,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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    PREMISES NO:         010        BUILDING NO:   101
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           DORM A
    LOCATION:            2650 LAKESHORE DR
    COUNTY:              JACKSON
    CITY/STATE:          MARIANNA, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $272,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $42,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         010        BUILDING NO:   102
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           CHAPEUCLASSROOM
    LOCATION:            2650 LAKESHORE DR
    COUNTY:              JACKSON
    CITY/STATE:          MARIANNA, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $830,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $125,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         010        BUILDING NO:   103
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           CAFETERIA
    LOCATION:            2650 LAKESHORE DR
    COUNTY:              JACKSON
    CITY/STATE:          MARIANNA, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $641,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $97,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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    PREMISES NO:         010        BUILDING NO:   104
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           STAFF HOUSING
    LOCATION:            2650 LAKESHORE DR
    COUNTY:              JACKSON
    CITY/STATE:          MARIANNA, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $233,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $36,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         010        BUILDING NO:   105
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           HOTEL200
    LOCATION:            2650 LAKESHORE DR
    COUNTY:              JACKSON
    CITY/STATE:          MARIANNA, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $1,031,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $155,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         010        BUILDING NO:   106
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           HOTEL 300
    LOCATION:            2650 LAKESHORE DR
    COUNTY:              JACKSON
    CITY/STATE:          MARIANNA, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $1,031,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $155,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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      PREMISES NO:         010        BUILDING NO:   107
      CONSTRUCTION:        JOISTED MASONRY
      OCCUPANCY:           DORMS
      LOCATION:            2650 LAKESHORE DR
      COUNTY:              JACKSON
      CITY/STATE:          MARIANNA, FL

      COVERAGE: BUILDING
      LIMIT OF INSURANCE: $272,000
      COINSURANCE PERCENT: 90%
      COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                FL SINKHOLE INCLUDED
      VALUATION: REPLACEMENT COST
      OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                           AGREED VALUE

      COVERAGE: PERSONALPROPERTY
      LIMIT OF INSURANCE: $42,000
      COINSURANCE PERCENT: 90%
      COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                FL SINKHOLE INCLUDED
      VALUATION: REPLACEMENT COST
      OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                           AGREED VALUE

      OTHER AMENDMENTS OR ENDORSEMENTS:

      GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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      PREMISES NO:         010        BUILDING NO:   108
      CONSTRUCTION:        JOISTED MASONRY
      OCCUPANCY:           DORMC
      LOCATION:            2650 LAKESHORE DR
      COUNTY:              JACKSON
      CITY/STATE:          MARIANNA, FL

      COVERAGE: BUILDING
      LIMIT OF INSURANCE: $269,000
      COINSURANCE PERCENT: 90%
      COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                                FL SINKHOLE INCLUDED
      VALUATION: REPLACEMENT COST
      OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                           AGREED VALUE




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    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $41,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         010        BUILDING NO:   109
    CONSTRUCTION:        FRAME
    OCCUPANCY:           LODGE
    LOCATION:            2650 LAKESHORE DR
    COUNTY:              JACKSON
    CITY/STATE:          MARIANNA, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $872,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $131,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT




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    PREMISES NO:         010        BUILDING NO:   110
    CONSTRUCTION:        JOISTED MASONRY
    OCCUPANCY:           CHAPEUFH/ED
    LOCATION:            2650 LAKESHORE DR
    COUNTY:              JACKSON
    CITY/STATE:          MARIANNA, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $2,557,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                               FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    COVERAGE: PERSONALPROPERTY
    LIMIT OF INSURANCE: $384,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         010        BUILDING NO: 111
    CONSTRUCTION:        FRAME
    OCCUPANCY:           CARETAKER MOBILE HOME
    LOCATION:            2650 LAKESHORE DR
    COUNTY:              JACKSON
    CITY/STATE:          MARIANNA, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $46,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE




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    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         010        BUILDING NO:   112
    OCCUPANCY:           SWIMMING POOL
    LOCATION:            2650 LAKESHORE DR
    COUNTY:              JACKSON
    CITY/STATE:          MARIANNA, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $178,000
    COINSURANCE PERCENT: 90%
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: REPLACEMENT COST
    OPTIONAL COVERAGE: AUTOMATIC INCREASE IN INSURANCE
                         AGREED VALUE

    OTHER AMENDMENTS OR ENDORSEMENTS:

    GLASS LIMITATION SPECIAL CAUSES OF LOSS ENDORSEMENT

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    PREMISES NO:         011        BUILDING NO: 113
    CONSTRUCTION:        FRAME
    OCCUPANCY:           BUILDERS RISK (CLASSROOM AND OFFICES)
    LOCATION:            1157 SANDERS AVE
    COUNTY:              JACKSON
    CITY/STATE:          GRACEVILLE, FL

    COVERAGE: BUILDING
    LIMIT OF INSURANCE: $940,000
    COVERED CAUSE OF LOSS: SPECIAL LIMITED GLASS
                              FL SINKHOLE INCLUDED
    VALUATION: ACTUAL CASH VALUE




    ADDITIONAL COVERAGES OR ENDORSEMENTS

    DEDUCTIBLE - TWO OR MORE COVERAGE FORM ENDORSEMENTS

    COVERAGE EXTENSION:             NEWI.Y CONSTRUCTED BUILDING
    LIMIT OF INSURANCE:             $1,500,000 ANY ONE OCCURRENCE

    COVERAGE EXTENSION:             NEWI.Y ACQUIRED BUILDING AND PERSONAL PROPERTY
    LIMIT OF INSURANCE:             $1,500,000 ANY ONE OCCURRENCE




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    ADDITIONAL COVERAGE:            ARSON REWARD
    LIMIT OF INSURANCE:             $10,000 ANY ONE OCCURRENCE

    ADDITIONAL COVERAGE:            FIRE DEPARTMENT SERVICE CHARGE
    LIMIT OF INSURANCE:             $30,000 ANY ONE OCCURRENCE

    ADDITIONAL COVERAGE:            LOCK REPLACEMENT
    LIMIT OF INSURANCE:             $1,000 ANY ONE OCCURRENCE

    COVERAGE EXTENSION:             OUTDOOR TREES, LAWNS, PLANTS, OR SHRUBS
    LIMIT OF INSURANCE:             $1,000 EACH ITEM    $10,000 ANY ONE OCCURRENCE

    ADDITIONAL COVERAGE:            DEBRIS REMOVAL
    LIMIT OF INSURANCE:             $15,000 ANY ONE OCCURRENCE

    COVERAGE EXTENSION:             PERSONAL PROPERTY OF OTHERS
    LIMIT OF INSURANCE:             $10,000 ANY ONE OCCURRENCE

    COVERAGE EXTENSION:             BUSINESS PERSONAL PROPERTY OF YOUR CLERGY
    LIMIT OF INSURANCE:             $15,000 ANY ONE OCCURRENCE

    ADDITIONAL COVERAGE:            REFRIGERATED FOOD PRODUCTS
    LIMIT OF INSURANCE:             $2,000 ANY ONE OCCURRENCE

    COVERAGE EXTENSION:             STRUCTURES ON PREMISES
    LIMIT OF INSURANCE:             $25,000 ANY ONE OCCURRENCE


    COVERAGE EXTENSION:             VALUABLE PAPERS AND RECORDS - COST OF RESEARCH
    LIMIT OF INSURANCE:             $25,000 ANY ONE OCCURRENCE


    ADDITIONAL COVERAGE:            INSTITUTIONAL INCOME & EXTRA EXPENSE
    LIMIT OF INSURANCE:             $50,000 ANY ONE OCCURRENCE



    ITEM 2. DEDUCTIBLE - OCCURRENCE:

    $1,000 EXCEPT AS FOLLOWS:

    2% WINDSTORM OR HAIL A 186 FL - APPLIES TO PREM.: 001 BLDG.: 001
    2% WINDSTORM OR HAIL A 186 FL - APPLIES TO PREM.: 001 BLDG.: 002
    2% WINDSTORM OR HAIL A 186 FL - APPLIES TO PREM.: 001 BLDG.: 003
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 001 BLDG.: 004
    2% WINDSTORM OR HAIL A 186 FL- APPLIES TO PREM.: 001 BLDG.: 005




    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 001 BLDG.: 010
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 001 BLDG.: 011

    2% WINDSTORM OR HAIL A 186 FL -APPLIES TO PREM.: 001 BLDG.: 015




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    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 001 BLDG.: 030


    2% WINDSTORM OR HAIL A 186 FL - APPLIES TO PREM.: 001 BLDG.: 033




    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 001 BLDG.: 042
    2% WINDSTORM OR HAIL A 186 FL -APPLIES TO PREM.: 001 BLDG.: 045
    2% WINDSTORM OR HAIL A 186 FL -APPLIES TO PREM.: 001 BLDG.: 046


    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 001 BLDG.: 050



    2% WINDSTORM OR HAIL A 186 FL -APPLIES TO PREM.: 001 BLDG.: 055

    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 001 BLDG.: 0.57


    2% WINDSTORM OR HAIL A 186 FL -APPLIES TO PREM.: 001 BLDG.: 061
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 001 BLDG.: 062
    2% WINDSTORM OR HAIL A 186 FL -APPLIES TO PREM.: 001 BLDG.: 063


    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 001 BLDG.: 066




    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 001 BLDG.: 079
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 001 BLDG.: 080
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 005 BLDG.: 090
    2% WINDSTORM OR HAIL A 186 FL -APPLIES TO PREM.: 006 B.LDG.: 091


    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 010 BLDG.: 096
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 010 BLDG.: 097
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 010 BLDG.: 099
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 010 BLDG.: 100




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    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 010 BLDG.: 101
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 010 BLDG.: 102
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 010 BLDG.: 103                              ~
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    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 010 BLDG.: 104
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 010 BLDG.: 105
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 010 BLDG.: 106
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.:.010 BLDG.: 107
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 010 BLDG.: 108
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 010 BLDG.: 109
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 010 BLDG.: 110
    2% WINDSTORM OR HAIL A 186 FL-APPLIES TO PREM.: 010 BLDG.: 112
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 - APPLIES TO PREM.: 001 BLDG.: 006
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 007
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 008
    2% HURRICANE DEDUCTIBLE- EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 009
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 012
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1- APPLIES TO PREM.: 001 BLDG.: 016
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 - APPLIES TO PREM.: 001 BLDG.: 017
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 - APPLIES TO PREM.: 001 BLDG.: 018
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 - APPLIES TO PREM.: 001 BLDG.: 019
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 - APPLIES TO PREM.: 001 BLDG.: 020
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 - APPLIES TO PREM.: 001 BLDG.: 023
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 024
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 - APPLIES TO PREM.: 001 BLDG.: 025
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 -APPLIES TO PREM.: 001 BLDG.: 026
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 027
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 028
    2% HURRICANE DEDUCTIBLE- EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 029
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 - APPLIES TO PREM.: 001 BLDG.: 031
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 032
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 034
    2% HURRICANE DEDUCTIBLE- EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 035
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 036
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 - APPLIES TO PREM.: 001 BLDG.: 037
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1- APPLIES TO PREM.: 001 BLDG.: 038
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 - APPLIES TO PREM.: 001 BLDG.: 039
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 -APPLIES TO PREM.: 001 BLDG.: 040


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    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 - APPLIES TO PREM.: 001 BLDG.: 041
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1- APPLIES TO PREM.: 001 BLDG.: 047
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 - APPLIES TO PREM.: 001 BLDG.: 048
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1- APPLIES TO PREM.: 001 BLDG.: 051
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 052
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 -APPLIES TO PREM.: 001 BLDG.: 053
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 -APPLIES TO PREM.: 001 BLDG.: 054
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 -APPLIES TO PREM.: 001 BLDG.: 056
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 058
    2% HURRICANE DEDUCTIBLE- EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 059
    2% HURRICANE DEDUCTIBLE- EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 064
    2% HURRICANE DEDUCTIBLE-EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 065
    2% HURRICANE DEDUCTIBLE-EACH HURRICANE A 186.1-APPLIES TO PREM.: 001 BLDG.: 073
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1 - APPLIES TO PREM.: 001 BLDG.: 075
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1- APPLIES TO PREM.: 001 BLDG.: 076
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1- APPLIES TO PREM.: 001 BLDG.: 077
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1- APPLIES TO PREM.: 001 BLDG.: 078
    2% HURRICANE DEDUCTIBLE - EACH HURRICANE A 186.1- APPLIES TO PREM.: 007 BLDG.: 092
    2% HURRICANE DEDUCTIBLE-EACH HURRICANE A 186.1-APPLIES TO PREM.: 009 BLDG.: 094



    ITEM 3. ENDORSEMENTS:



    ADDITIONAL PROPERTY NOT COVERED ENDORSEMENT

    DESCRIPTION:     ANY PROPERTY LOCATED AT 5448 THE HERITAGE DRIVE, GRACEVILLE,

                     JACKSON COUNTY, FL - KNOW AS NO NAME HERITAGE VILLAGE



    THE FOLLOWING APPLIES UNDER ITEM 1. DESCRIPTION OF PREMISES AND
    COVERAGES:
    PREMISES 001, BUILDING 073, BULLOCK HOUSE (ONE FAMILY NON OVVI\IER
    OCCUPIED DWELLING)

    COINSURANCE CONTRACT APPLIES TO PREMISES 001, BUILDING 063
    AND BUILDINGS 082-086; PREMISES 005, BUILDING 090; PREMISES 009,
    BUILDINGS 094 AND 095 AND PREMISES 011, BUILDING 113.

    FORM A 101 (04-06) BUILDING AND PERSONAL PROPERTY COVERAGE FORM




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    FOR RELIGIOUS INSTITUTIONS AND RELATED PROPERTIES DOES NOT APPLY
    TO PREMISES 011, BUILDING 113, BUILDERS RISK(CLASSROOM AND OFFICES).
    ITEM 4. MORTGAGEHOLDERS, LOSS PAYEES, AND CONTRACT SELLERS:

    NONE




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                           GENERAL LIABILITY COVERAGE PART
                                 DECLARATIONS PAGE

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    ITEM 1. LIMITS OF INSURANCE:
    GENERAL AGGREGATE LIMIT (OTHER THAN PRODUCTS - COMPLETED               $ 3,000,000
    OPERATIONS AND SEXUAL MISCONDUCT OR SEXUAL MOLESTATION)

    PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT                          $ 1,000,000

    EACH OCCURRENCE LIMIT (BODILY INJURY AND PROPERTY DAMAGE               $ 1,000,000
    COMBINED)

    PERSONAL AND ADVERTISING INJURY LIMIT (COMBINED)                       $ 1,000,000

    MEDICAL EXPENSE LIMIT - ANY ONE PERSON (OTHER THAN SEXUAL
    MISCONDUCT OR SEXUAL MOLESTATION)                                      $    10,000

    PROPERTY DAMAGE LEGAL LIABILITY - ANY ONE OCCURRENCE                   $   300,000

    SEXUAL MISCONDUCT OR SEXUAL MOLESTATION LIMIT (COMBINED)-ALL
    LOCATIONS AND OPERATIONS
         EACH CLAIM LIMIT                                                  $   500,000
         AGGREGATE LIMIT                                                   $ 1,000,000

    SEXUAL MISCONDUCT OR SEXUAL MOLESTATION MEDICAL EXPENSE LIMIT
         ANY ONE PERSON                                                    $    10,000
         AGGREGATE LIMIT                                                   $    50,000

    LEGAL DEFENSE COVERAGE LIMIT
         EACH DEFENSIBLE INCIDENT LIMIT                                    $     5,000
         AGGREGATE LIMIT                                                   $    15,000

    CATASTROPHIC VIOLENCE RESPONSE
         PER PERSON LIMIT                                                  $    50,000
         EACH VIOLENT INCIDENT LIMIT                                       $   300,000
         VIOLENT INCIDENT AGGREGATE LIMIT                                  $   300,000

    ITEM 2. D.ESCRIPTION AND CLASSIFICATION OF PREMISES AND OPERATIONS:
    ALL PREMISES AND OPERATIONS UNLESS EXCLUDED IN ITEM 3 BELOW.
    INCLUDING:




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    PREMISES NO:          001        BUILDING NO:   014
    OCCUPANCY:            VACANT LAND
    LOCATION:             1157 SANDERS AVE
    COUNTY:               JACKSON
    CITY/STATE:           GRACEVILLE, FL
    PREMISES NO:          001        BUILDING NO:   021
    OCCUPANCY:            VACANT LAND
    LOCATION:             1157 SANDERS AVE
    COUNTY:               JACKSON
    CITY/STATE:           GRACEVILLE, FL
    PREMISES NO:          001        BUILDING NO:   022
    OCCUPANCY:            VACANT LAND
    LOCATION:             1157 SANDERS AVE
    COUNTY:               JACKSON
    CITY/STATE:           GRACEVILLE, FL
    PREMISES NO:          002         BUILDING NO: 087
    OCCUPANCY:            FIRST BAPTIST CHURCH OF ORLANDO
    LOCATION:             3000 S JOHN YOUNG PKWY
    COUNTY:               ORANGE
    CITY/STATE:           ORLANDO, FL
    PREMISES NO:          003        BUILDING NO: 088
    OCCUPANCY:            FAMILY OF GOD BAPTIST CHURCH
    LOCATION:             901 E HIGHWAY 98
    COUNTY:               BAY
    CITY/STATE:           PANAMA CITY, FL
    PREMISES NO:          004         BUILDING NO: 089
    OCCUPANCY:            FIRST BAPTIST CHURCH OF CENTRAL FLORIDA
    LOCATION:             700 GOOD HOMES RD
    COUNTY:               ORANGE
    CITY/STATE:           ORLANDO, FL
    PREMISES NO:          008        BUILDING NO: 093
    CONSTRUCTION:         FRAME
    OCCUPANCY:            CLASSES - FRUIT COVE BAPTIST CHURCH
    LOCATION:             501 STATE ROAD 13
    COUNTY:               DWAL
    CITY/STATE:           JACKSONVILLE, FL
    ITEM 3. EXCLUSION ENDORSEMENTS:

    EXCLUSION -ALL HAZARDS IN CONNECTION WITH DESIGNATED PREMISES.
    SCHEDULE OF DESIGNATED PREMISES:

          ANY PROPERTY LOCATED AT 5448 THE HERITAGE DRIVE, GRACEVILLE,
          JACKSON COUNTY, FL - KNOWN AS NO NAME HERITAGE VILLAGE

          THE MISSIONS AVIATION PROGRAM AND THE TRI-COUNTY AIRPORT
          LOCATED AT 1983 TRI COUNTY AIRPORT RD, BONIFAY
          HOLMES COUNTY, FL




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          81X50 METAL BARN AND 150X50 METAL BARN AND ANY ADDITIONAL
          BUILDINGS LOCATED AT 5556 BROWN STREET, GRACEVILLE,
          JACKSON COUNTY, FL

    EXCLUSION - MEDICAL EXPENSE - SCHEDULE OF EXCLUDED LOCATIONS:

          THE MISSIONS AVITAION PROGRAM AND THE TRI-COUNTY AIRPORT
          LOCATED AT 1983 TRI COUNTY AIRPORT ROAD, BONIFAY, HOLMES
          COUNTY, FL

          81X50 METAL BARN AND 150X50 METAL BARN AND ANY ADDITIONAL
          BUILDINGS LOCATED AT 5556 BROWN STREET, GRACEVILLE,
          JACKSON COUNTY, FL

    EXCLUSION - MEDICAL EXPENSE - SPECIFIC ACTIVITY OR EVENT:

          ANY PROPERTY LOCATED AT 5448 THE HERITAGE DRIVE, GRACEVILLE
          JACKSON COUNTY, FL - KNOWN AS NO NAME HERITAGE VILLAGE

          ART DESIGN CENTER
          WIREGRASS CLINIC LLC

    EXCLUSION - EXPLOSION, COLLAPSE, AND UNDERGROUND PROPERTY DAMAGE HAZARD.
    SCHEDULE OF .EXCLUDED HAZARDS:
         CONSTRUCTION PROJECT

    EXCLUSION -EXCLUDED OPERATION($). DESCRIPTION OF OPERATIONS:

          BROADCASTING OF RADIO STATION WFBU

    EXCLUSION - BROADCASTING, TELECASTING, PUBLISHING.
    DESCRIPTION OF EXCLUDED OPERATION(S):

          BROADCASTING OF RADIO STATION WFBU

            OTHER ENDORSEMENTS:



    COLLEGES OR SCHOOLS ENDORSEMENT.
    COVERAGE FOR CORPORAL PUNISHMENT DOES NOT APPLY.
    MEDICAL EXPENSE INSURANCE OPTION THAT APPLIES: TWO (EXCESS)

    CAMPS ENDORSEMENT.
    MEDICAL EXPENSE INSURANCE OPTION THAT APPLIES: TWO (EXCESS)

    PRODUCTS/COMPLETED OPERATIONS HAZARD REDEFINED. SCHEDULE OF
    PREMISES OR OPERATIONS:

          KINGS CUP




                                                                                    Church
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ADDITIONAL INSURED - MANAGERS OR LESSORS OF PREMISES ENDORSEMENT.
SCHEDULE OF ADDITIONAL PERSONS OR ORGANIZATIONS INSURED:

     FRUIT COVE BAPTIST CHURCH OF JACKSONVILLE
     FLORIDA INC
     501 STATE ROAD 13
     JACKSONVILLE, FL 32259-2832
     CLASSES
     PREMISES/BUILDINGS INCLUDED: 008   093




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                                      CRIME COVERAGE PART
                                       DECLARATIONS PAGE


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     ITEM 1. DESCRIPTION OF PREMISES AND COVERAGES:

     *************************************************************************

     PREMISES NO:         001        BUILDING NO:    001
     CONSTRUCTION:        NON-COMBUSTIBLE
     OCCUPANCY:           GRACEVILLE HALL
     LOCATION:            5434 COLLEGE DR
     COUNTY:              JACKSON
     CITY/STATE:          GRACEVILLE, FL

     ****************************************************************'*********

     COVERAGE FORM: THEFT DISAPPEARANCE AND DESTRUCTION

     LIMIT OF INSURANCE: $10,000                    DEDUCTIBLE: $100

     *************************************************************************

     COVERAGEFORM: BLANKETBOND

     LIMIT OF INSURANCE: $200,000                   DEDUCTIBLE: FULL COVERAGE


     ITEM 2. ENDORSEMENTS:

     NONE




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